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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )                   4:11CR3090
                                            )
              v.                            )
                                            )        MEMORANDUM AND ORDER
ALEJANDRO ROBLES,                           )
                                            )
                      Defendant.            )

       The defendant’s guilty plea was accepted on February 6, 2012, (filing no. 76), and
he was released on conditions pending sentencing. Thereafter, a Petition was filed alleging
the defendant had violated the conditions of his release on February 21, 2012. (Filing No.
81). A hearing was convened and the defendant admitted the allegations in the Petition.


       Based on the information before the court, the undersigned magistrate judge is unable
to conclude that the defendant is not likely to flee and does not pose a danger to the safety
of any other person or the community if released. See 18 U.S.C. § 3143.

       Accordingly,

       IT IS ORDERED that the defendant shall be detained pending sentencing.


       DATED this 22nd day of February, 2012.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
